 Case 1:18-cv-00950-LO-JFA Document 120 Filed 03/29/19 Page 1 of 2 PageID# 2662



                               UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,

v.
                                                          Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,

         Defendants.




                              PLAINTIFFS’ MOTION FOR SANCTIONS

            Pursuant to Fed. R. Civ. P. 37 and E.D. Va. Local Rule 37, Plaintiffs hereby move for an

     order: (1) finding that Cox has failed to comply with this Court’s February 15, 2019 order to

     produce billing information attributable to each Cox subscriber who was the subject of a copyright

     infringement notice sent on Plaintiffs’ behalf; (2) ordering Cox to produce the compelled billing

     information within two days of an Order, or show cause why it cannot do so, (3) extending

     Plaintiffs deadline to serve a financial expert report to April 24, 2019; (4) requiring Cox to provide

     Rule 30(b)(6) deposition testimony on financial issues no earlier than four business days after it

     produces the discovery at issue here; (5) paying Plaintiffs’ reasonable expenses caused by Cox’s

     failure to comply with the Court’s order; and (6) such other relief as the Court deems appropriate.

            For the reasons set forth in the accompanying Memorandum in Support, the Court should

     grant the motion.

                       LOCAL RULE 37(E) MEET AND CONFER STATEMENT

            Counsel for Plaintiffs sent letters or emails to Cox regarding its non-compliance with the

     Court’s February 15, 2019 Order on countless occasions as detailed in the accompanying
 Case 1:18-cv-00950-LO-JFA Document 120 Filed 03/29/19 Page 2 of 2 PageID# 2663



  memorandum of law, and also conferred by telephone on February 19 regarding this and other

  issues. Plaintiffs also attempted to speak by phone with Cox’s counsel numerous additional times

  in the days leading up to this filing but Cox’s counsel declined to speak, preferring instead to

  proceed by email. Despite Plaintiffs’ efforts, they have been unable to resolve this issue and

  therefore the Court’s assistance is required.




                                                    Respectfully submitted,

Dated: March 29, 2019                               /s/ Scott A. Zebrak

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